
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 92-2332                              UNITED STATES OF AMERICA,                                      Appellee,                                          v.                                 SHERWOOD K. JORDAN,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________                                 ____________________                                        Before                                 Selya, Circuit Judge,
                                        _____________                           Friedman, Senior Circuit Judge,
                                     ____________________                               and Cyr, Circuit Judge.
                                        _____________                                 ____________________             David G. Webbert  with whom Berman &amp;  Simmons, P.A. was  on brief
             ________________            _______________________        for appellant.             F.  Mark Terison,  Assistant United  States  Attorney, with  whom
             ________________        Richard S.  Cohen,  United States  Attorney,  and Richard  W.  Murphy,
        _________________                                 ___________________        Assistant United States Attorney, were on brief for appellee.                                 ____________________                                    July 16, 1993                                 ____________________                        
        ________________        *Of the Federal Circuit, sitting by designation.

                    CYR, Circuit  Judge.   On December 3,  1991, Maine  law
                    CYR, Circuit  Judge.
                         ______________          enforcement  personnel executed a  search warrant at  the home of          appellant  Sherwood Jordan,  seizing  more  than  a  kilogram  of          marijuana, a triple beam scale, $5,880 in cash, six firearms, and          nearly 1000 rounds of assault-rifle  ammunition.  A federal grand          jury subsequently indicted Jordan on six counts of  possession of          firearms  or ammunition by a  felon, 18 U.S.C.    922(g)(1), 924,          and one count of possessing marijuana with  intent to distribute,          18 U.S.C.   841(a)(1), (b)(1)(D).                    Jordan moved to suppress all evidence seized during the          search, contending that  the warrant was issued  without probable          cause.   Although  it  expressed "grave  reservations  as to  the          sufficiency of the  probable cause showing," the  district court,          relying on the  "good faith" exception to  the exclusionary rule,          see United States v. Leon, 468 U.S. 897 (1984), denied the motion
          ___ _____________    ____          to  suppress.   Jordan  subsequently entered  conditional  guilty          pleas to three firearms charges and the drug distribution charge,          reserving the right  to appeal the suppression ruling.   See Fed.
                                                                   ___          R. Crim. P. 11(a)(2).          A.   The Supporting Affidavit.
          A.   The Supporting Affidavit
               ________________________                    The search warrant was issued by a state court judge on          the  strength of  the affidavit  of Agent  Winston McGill  of the          Maine  Bureau of Intergovernmental Drug Enforcement.  The affida-          vit  related in  great detail  two  controlled marijuana  "buys,"          within the preceding ten days, from one Donald Moyse, a convicted                                          2

          drug  offender,  by  a confidential  informant  acting  under the          direct control and surveillance of Agent McGill.  McGill attested          that the confidential informant  previously had provided reliable          tips and  had  cooperated with  local authorities  in other  con-          trolled  marijuana "buys."   The  affidavit  related that  Donald          Moyse told the confidential informant that the marijuana involved          in both controlled  "buys" had come from Jordan's  residence, and          that  both "buys"  had  been conducted  in  essentially the  same          manner:   the confidential  informant  would meet  with one  Cary          LaFrance  at a  local rest  stop area  and turn  over the  agreed          purchase price (supplied by Agent McGill).  LaFrance  would drive          to Donald  Moyse's residence,  and the two  would proceed  to the          Jordan residence where the marijuana was kept.  Moyse and LaFran-          ce would  then meet  with  the informant  at a  local school  and          deliver the marijuana.                    On  the  occasion  of  each  controlled  "buy,"  McGill          searched the  confidential informant  for contraband  immediately          prior to providing the purchase money; prior to the second "buy,"          he searched the informant's vehicle as well.  McGill then survei-          lled  the  unfolding  transaction,  observing  as  the  informant          delivered  the "buy"  money to  LaFrance,  following LaFrance  to          Moyse's house, and watching LaFrance and Moyse  as they proceeded          to  Jordan's residence,  then to the  local school.   In each in-          stance,  McGill's affidavit  attests, the  informant told  McGill          that the  marijuana had  been  turned over  to him  by Moyse  and          LaFrance at the  school and that it had  been obtained, according                                          3

          to Moyse, at Jordan's residence.  Following the second "buy," the          informant  told McGill  that Moyse  had stated  that there  was a          "large quantity" of  marijuana at the Jordan residence.  Finally,          the affidavit represented  that urinalysis conducted while  Moyse          was  on  probation  occasionally  revealed  positive results  for          marijuana use.          B.   The District Court Decision.
          B.   The District Court Decision.
               ___________________________                    Contrary to Jordan's contention on appeal, the district          court's "grave reservations as to the sufficiency of the probable          cause showing" did not  amount to a finding that the  warrant was          not  based on  probable cause.    "Grave reservations"  do not  a          ruling make.   Rather,  the district  court plainly  bypassed any          "probable cause"  ruling in  favor of  its functionally  distinct          reliance on the "good faith"  exception to the exclusionary rule.          In addition, we agree with the government that the McGill affida-          vit made a sufficient showing of probable cause.1          C.   Probable Cause.
          C.   Probable Cause.
               ______________                    We must  accord  the issuing  judge's "probable  cause"          determination "great  deference," United States  v. Scalia,  slip
                                            _____________     ______          op.  No. 93-1018  at 4  (1st Cir.  May 21, 1993)  (quoting United
                                                                     ______          States  v. Ciampa,  793  F.2d 19,  22  (1st Cir.  1986)), with  a
          ______     ______                              
          ____________________               1As  there  was  no evidentiary  hearing  on  the motion  to          suppress,  we examine the only supporting  evidence    the McGill          affidavit    to  determine the sufficiency of the  probable cause          showing.   Cf. Leon, 468 U.S. at 925 (reviewing court may resolve
                     ___ ____          sufficiency of "probable cause" showing before  considering "good          faith" exception).                                          4

          common-sense  view to whether the "totality of the circumstances"          related in the supporting affidavit, Illinois v. Gates,  462 U.S.
                                               ________    _____          213, 238 (1983), gave rise to a fair probability that a search of          the  target premises would  uncover contraband  or evidence  of a          crime.  See United States v. Caggiano, 899 F.2d 99, 102 (1st Cir.
                  ___ _____________    ________          1990) (citing Gates, 462 U.S. at 238-39).  The "fair probability"
                        _____          threshold  does not  require a  prima  facie showing  of criminal          activity.   Ciampa, 793  F.2d at  22 (citing  Gates, 462  U.S. at
                      ______                            _____          235).                    Jordan makes a spirited attack on the McGill affidavit:          neither  McGill nor  the  informant had  any direct  contact with          Jordan, nor  directly observed  any drug buy  or transfer  at the          Jordan residence; Moyse's representations that the marijuana came          from Jordan's  home are "double hearsay"; Moyse, a marijuana user          and convicted drug offender, was not a reliable hearsay declarant          and, finally,  the affidavit  did not demonstrate  a "fair  prob-          ability" that marijuana  or related contraband would  be found at          the  Jordan residence  since  the  marijuana  Moyse sold  to  the          informant could  have come from  LaFrance, Moyse, the  school, or          Jordan's residence.                    We  agree that nothing in the McGill affidavit excluded          the possibility that the marijuana  may have come from some place          other  than  the  Jordan residence.    Nevertheless,  viewing the          totality  of the circumstances  related in the  affidavit, rather          than  judging  "bits  and pieces  of  information  in isolation,"          United States v.  Cochrane, 896 F.2d 635, 637  (1st Cir.) (citing
          _____________     ________                                          5

          Massachusetts v. Upton, 466 U.S.  727, 732 (1984)), cert. denied,
          _____________    _____                              ____  ______          496 U.S. 929 (1990), the  affidavit was sufficient to support the          issuing judge's "common-sense" determination of probable cause.                    Hearsay  statements, like those of Moyse and the infor-          mant, often  are the  stuff of search  warrant affidavits.   See,
                                                                       ___          e.g., Scalia,  slip op. at 2,  3; Ciampa, 793 F.2d at  24.  Their
          ____  ______                      ______          reliability may  be  corroborated  by  various  means,  including          direct surveillance  or circumstantial evidence, or vouchsafed by          the affiant    in this  case a highly experienced law enforcement          officer.   See, e.g., Scalia, slip  op. at 6-8.   McGill attested
                     ___  ____  ______          that the confidential informant had provided reliable information          and investigative assistance to the police in the past, which may          have  been sufficient in  itself to establish  the reliability of          the informant's  hearsay statements.  See, e.g., Ciampa, 793 F.2d
                                                ___  ____  ______          at  24 (hearsay  conveyed by  "proven  reliable informant");  cf.
                                                                        ___          United States  v. Campbell, 732  F.2d 1017, 1019 (1st  Cir. 1984)
          _____________     ________          (double  hearsay  unacceptable  basis for  probable  cause  where          neither  informant nor confidential contact had dealt with police
          _______            ___          in the past).  Moreover, McGill also attested  that (i) Moyse was          an  unwitting participant  in  the  controlled  "buy,"  and  (ii)          unbeknownst to Moyse, McGill observed Moyse's entrance to Jordan-          's residence on  both occasions, thereby establishing  that Moyse          was in  a position to know  whether Jordan kept  marijuana at his          residence.  See Ciampa, 793 F.2d at 24.
                      ___ ______                    Finally,   McGill   contemporaneously   surveilled  all          conspicuous steps taken in the  course of both controlled "buys,"                                          6

          which  proceeded exactly as  foretold by the  confidential infor-          mant,  and included  stops  at  Jordan's home,  the  site of  the          search.  Thus, independent corroboration lent further credence to          the confidential informant's  statements (i.e.,  the location  of
                                                    ____          the marijuana).  See United States  v. Jorge, 865 F.2d 6, 9  (1st
                           ___ _____________     _____          Cir. 1989), cert.  denied, 490 U.S. 1027 (1989);  see also Gates,
                      ____   ______                         ___ ____ _____          462 U.S. at 244 (White, J., concurring) ("Because an informant is          right about  some things, he  is more probably right  about other          facts . . . .").                    Appellant  nevertheless correctly  observes that  these          factors in combination do not exclude the possibility  that Moyse          might have  obtained the marijuana  at some place along  the drug          "buy" route other than Jordan's  residence.  But given the exper-          ience and training  of the affiant, the  confidential informant's          proven  reliability, and the corroboration of the informant's and          Moyse's hearsay reports  by means of direct  police surveillance,          the  issuing judge  was not  required to  credit the  speculative          possibility that the marijuana might have been obtained elsewhere          along the drug route than Jordan's residence.  Nor may we  do so.          See  Scalia, slip  op.  at 4  (issuing  judge's "probable  cause"
          ___  ______          determination  entitled to "great  deference").  Viewed  in their          totality, therefore,  the circumstances related in the supporting          affidavit, together with reasonable inferences therefrom, provid-          ed a  "substantial basis"  for the  issuing judge's  common-sense          determination that  there was  a fair  probability that  Jordan's                                          7

          home contained contraband or evidence  of a crime.  Caggiano, 899
                                                              ________          F.2d at 102 (citing Gates, 462 U.S. at 238-39).
                              _____                    Affirmed.
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